                                      Case 5:21-cv-03133-JFL Document 1 Filed 07/14/21 Page 1 of 55

JS 44 (Rev. 10/20)                                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE !NST!WCT!ONS ON NEJŒ PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                                                    DEFENDANTS
                                                                                                                                     Paradise Custom Kitchens, Inc., Ruth Dautrich, Tim Dautrich
              John L. Wenger
                                                                                                                                     and Charles Roth
     (b)      County of Residence of First Listed Plaintiff                    =L=a~n~c~a=s~t=e~r                      _             County of Residence of First Listed Defendant =L=a=n~c=a=s=t=e=r~ ------
                                        (EXCEPT IN US. PLAINTIFF CASES)                                                                                      (IN US. PLAINTIFF CASES ONLY)
                                                                                                                                     NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                 THE TRACT OF LAND INV OL VED.

     ( C)     Attorneys (Firm Name, Address, and Telephone N11111be1~                                                                 Attorneys (If Known)
      Richard L. Hackman, Esquire, Saxton & Stump, LLC
      280 Granite Run Drive, Ste. 300, Lancaster, PA 17601
      (717) 556-1006                                         D
II. BASIS OF JURISDICTION (Place an "X" in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Placean                                                                                                       "X" in One Box for Ptaintiff
                                                                                                                                (For Divers i ly Cases Only)                                         and One Box for Defendant)
OI          U.S. Government                    Œ] 3     Federal Question                                                                                         PTF       DEF                                          PTF        DEF
               Plaintiff                                  (U.S. Government Nol a Party)                                  Citizen of This State                   O   I    O         Incorporated or Principal Place      O     4   O4
                                                                                                                                                                                       of Business In This State

O2          U.S. Government
               Defendant
                                               D4       Diversity
                                                          (Indicate Citizenship of Parties in Item l/1)
                                                                                                                         Citizen of Another State                □ □ 2              Incorporated and Principal Place
                                                                                                                                                                                      of Business In Another State
                                                                                                                                                                                                                         □         Os
                                                                                                                         Citizen or Subject of a
                                                                                                                            Foreign Country
                                                                                                                                                                 03□          3     Foreign Nation                       06        06


IV. NATURE OF SUIT (Place an                               "X" in One Box Only)
        '    , C!ON<Il!M:©I'.,                                           _    TOR'ES                                        FÓRFEirfl!JRE/PENA'LTY.
     I IO Insurance                                                                     PERSONAL INJURY                      625 Drug Related Seizure
     120  Marine                                 31 O Airplane                    O 365 Personal Injury -                        of Property 21 USC 88 I                 423 Withdrawal

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          Miller Act
          Negotiable Instrument
          Recovery of Overpayment
                                                 315 Airplane Product
                                                      Liability
                                                 320 Assault, Libel &
                                                                                        Product Liability
                                                                                  O 367 Health Carei
                                                                                              Pharmaceutical
                                                                                                                             690 Other                                       28 USC 157
                                                                                                                                                                     1--,-,,..,,======,----:F=; 400 State Reapportionment
                                                                                                                                                                     l,=r-===...._==="'---'1---l 410 Antitrust
          & Enforcement of Judgment                   Slander                              Personal Injury                                                                                           430 Banks and Banking
O    15 I Medicare Act                           330 Federal Employers'                    Product Liability                                                                                         450 Commerce
O    152 Recovery of Defaulted                        Liability                   O    368 Asbestos Personal                                                              835 Patent - Abbreviated   460 Deportation
           Student Loans                         340 Marine                                 Injury Product                                                                      New Drug Application 470 Racketeer Influenced and
           (Excludes Veterans)                   345 Marine Product                         Liability                                                                     840 Trademark                  Corrupt Organizations
O    153 Recovery of Overpayment                      Liability                      PERSONAL PROPERTY                                   1',ABØR-                         880 Defend Trade Secrets   480 Consumer Credit
          of Veteran's Benefits                  350 Motor Vehicle                0 370 Other Fraud                      X 7 IO Fair Labor Standards                            Act of20l6               (15 USC 1681 or 1692)
O    160 Stockholders' Suits                                                      O 371 Truth in Lending                        Act                                  I--,,=======,,-,,-,!-' 485 Telephone Consumer
O I 90 Other Contract                                Product Liability            O 380 Other Personal                     720 Labor/Management                                                                 Protection Act
O I 95 Contract Product Liability                360 Other Personal                     Property Damage                         Relations                                                                   490 Cable/Sat TV
O 196 Franchise                                      Injury                       O 385 Property Damage                    740 Railway Labor Act                                                            850 Securities/Commodities/
                                                 362 Personal Injury -                  Product Liability                  75 I Family and Medical                                                              Exchange
                                                     Medical Malpractice                                                        Leave Act                                                                   890 Other Statutory Actions
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     210 Land Conderrmation                      440 Other Civil Rights                                                      791 Employee Retirement                                                        893 Environmental Matters
O 220 Foreclosure                                441 Voting                                                                      Income Security Act                 l=-:-:s:===,=:r====-1H                 895 Freedom of Information


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            Rent Lease & Ejectment
            Torts to Land
            Tort Product Liability
            All Other Real Property
                                                 442
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                                                     Employment
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                                                 445 Amer. w/Disabilities -
                                                                                           Sentence
                                                                                       530 General
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                                                                                                                                                                         870 Taxes (U.S. Plaintiff
                                                                                                                                                                              or Defendant)
                                                                                                                                                                         871 IRS-Third Party
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                                                                                                                                                                                                            899 Administrative Procedure
                                                                                                                                                                                                                Act/Review or Appeal of
                                                     Employment                        Other:                                462 Naturalization Application                                                     Agency Decision
                                                 446 Amer. w/Disabilities -            540 Mandamus & Other                  465 Other Immigration                                                          950 Constitutionality of
                                                     Other                                                                       Actions                                                                        State Statutes


                                                                                              Conditions of
                                                                                              Confinement
 V. ORIGIN               (Place an "X" in One Box Only)
Œl I        Original           O2 Removed from                        03          Remanded from                  O4      Reinstated or         O     5 Transferred from            O6      Multidistrict         O8    Multidistrict
            Proceeding            State Court                                     Appellate Court                        Reopened                      Another District                    Litigation -                Litigation -
                                                                                                                                                       (specify)                           Transfer                    Direct File
                                                    Cite the U.S. Civil Statute under which you are filing (Do 1101 cite jurisdicüonat statutes unless diversity):
 VI. CAUSE OF ACTION                               29 U.S.C. 2601; 29   u.s.c. 201; 43 P.S. 333.101; 43 Pa. c.s. 260.1; unjust enrichment
                                                    Brief description of cause:
                                                    FMLA, FLSA, state wage claims, and unjust enrichment
 VII. REQUESTED IN                                 0 CHECK IF THIS IS A CLASS ACTION      DEMAND$                                                                                 CHECK YES only if demanded in complaint:
      COMPLAINT:                                     UNDER RULE 23, F.R Cv P         -~)(.C..]¡~~ ~                                                                               JURY DEMAND:               OYes        Œ)No
 VIII. RELATED CASE(S)
       IF ANY                                           (See instructions):
                                                                                                 _,,....._~                                                               DOCKET NUMBER                                                   _
 DATE                                                                                   SIG
 7/14/2021
 FOR OFFICE USE ONLY

     RECEIPT#                            AMOUNT                                               APPLYIN,G IFP                                          JUDGE                                  MAG.JUDGE
                          Case 5:21-cv-03133-JFL Document 1 Filed 07/14/21 Page 2 of 55

                                                             UNIT ED ST ATES DI STRI CT COURT
                                                       FOR THE EASTERN DI STRICT OF PENNS YL V ANIA

                                                                             DESIGNATI ON FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for rhe purpose of assignment to the appropriate calendar)

AddressofPlaintiff:                                                                          M_a_n_h_e_i_m_,_P_
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Address of Defendant:                                          3_3_3_L_in_c_o_l_
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RELATED CASE, IF ANY:

Case Number:                                             _       Judge:                                                   _    Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

I.    Is this case related to property included in an earlier numbered suit pending or within one year                           YesD                   No[Z]
      previously terminated action in this court?

2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
      pending or within one year previously terminated action in this court?                                                     -r:                    No[Z]


3.    Does this case involve the validity or infringement of a patent already in suit or any earlier
      numbered case pending or within one year previously terminated action of this court?                                       -r:                    No[Z]


4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights
       case filed by the same individual?
                                                                                                                                 Yes   O                No [Z]


I certify that, to my knowledge, the within case          O   is /   III   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
DATE        07/14/2021                                                                 Must sign here                                             81755
                                                                            Attorney-at-Lall' I Pro Se Plaintiff                           Attorney I. D. # (if applicable)


CIVIL: (Place a     ✓ in one category only)
A.            Federal Question Cases:                                                         B.    Diversity Jurisdiction Cases:

□                                                                                             □□
□
       l.  Indemnity Contract, Marine Contract, and All Other Contracts                              l.   Insurance Contract and Other Contracts

□
       2.  FELA
                                                                                              □
                                                                                                    2.    Airplane Personal Injury

□
       3. Jones Act-Personal Injury
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□                                                                                             □
       4. Antitrust                                                                                 4.    Marine Personal Injury

□
       5. Patent
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                                                                                                    5.    Motor Vehicle Personal Injury

□                                                                                             □
       6. Labor-Management Relations                                                                6.    Other Personal Injury (Please specify):                             _

□                                                                                             □
       7. Civil Rights                                                                              7.    Products Liability
       8. Habeas Corpus
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                                                                                                    8.    Products Liability - Asbestos
□□     9. Securities Act(s) Cases
       10. Social Security Review Cases
                                                                                                    9.    All other Diversity Cases
                                                                                                           (Please specify):                                                  _
0      Il. All other Federa! Question Cases
           (Please specify):         Fair Labor Standards Act



                                                                             ARBITRATION CERTIFICATION
                                                   (The effec/ ofr his certification is ro remove the case from ehgibility for arbitration.)


I,
                Richard L. Hackman                          , counsel of record or pro se plaintiff, do hereby certify:


     I✓ I     Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of$150,000.00 exclusive of interest~~

     D        Relief other than monetary damages ;, sought.                 ~~


DATE        07/14/2021                                                               Sig 1Æ.~r~~ ~~ =·e                                            81755
                                                                              1./(ney-at-lall' I Pro Se Plaintiff                          Attorney I. D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been complia~~th F.R.C.P. 38.

Civ. 609 (5/2018)
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN L. WENGER,
             Plaintiff,

           v.                                  Civil Action No. _________

PARADISE CUSTOM KITCHENS,
INC.
RUTH DOUTRICH                                  Electronically Filed
TIM DOUTRICH
CHARLES ROTH
             Defendants

                                      COMPLAINT

      Plaintiff John L. Wenger, by and through his undersigned counsel, hereby

files the following Complaint against Paradise Custom Kitchens, Inc., Ruth

Doutrich, Tim Doutrich, and Charles Roth, and avers as follows:

                                      INTRODUCTION

      1.         Plaintiff initiates this action contending Defendants violated the Fair

Labor Standards Act, 29 U.S.C. §§ 201, et seq., the Pennsylvania Minimum Wage

Act, 43 P.S. §§333.101, et seq., the Pennsylvania Wage Payment and Collection

Law, 43 Pa.C.S. §260.1, et seq., and the Family Medical Leave Act, 29 U.S.C. §

2601 et seq. (“FMLA”), as amended by the Families First Coronavirus Response

Act (“FFCRA”).
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        2.      In this action, Plaintiff seeks to recover unpaid wages, statutory

liquidated damages, pre-judgment and post-judgment interest, and attorneys’ fees

and costs against Defendants, jointly and individually, pursuant to both Federal and

Pennsylvania law.

                                        PARTIES

        3.      Plaintiff John L. Wenger (“Plaintiff”) is a citizen of the United States

and Pennsylvania and currently resides in Manheim, Pennsylvania.

        4.      Plaintiff was employed by Defendant PCK since approximately May

1991.

        5.      Defendant PCK terminated Plaintiff’s employment in March 2021.

        6.      Defendant Paradise Custom Kitchens, Inc. (“Defendant PCK”) is a

Pennsylvania corporation with a principal place of business at 3333 Lincoln

Highway East, Paradise, PA 17562.

        7.      Defendant PCK is corporation of the Commonwealth of Pennsylvania

and regularly conducts business in the Commonwealth of Pennsylvania.

        8.      During the time period relevant to this action, Defendant PCK operated

as an enterprise engaged in interstate commerce under the FLSA and had annual

gross volume of sales more than $500,000.00.

        9.      Defendant PCK employs less than 500 employees.




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      10.    Defendant Ruth Doutrich is a citizen of the United States and

Pennsylvania, and, at all times relevant to this action, Defendant PCK’s President

and a PCK shareholder. Defendant Ruth Doutrich maintains a business address of

3333 Lincoln Highway East, Paradise, PA 17562 and a personal address of 2207

Porter Way, Lancaster, PA 17601.

      11.    At all times relevant to this action, Defendant Ruth Doutrich was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      12.    Defendant Tim Doutrich is a citizen of the United States and

Pennsylvania, and, at all times relevant to this action, Defendant PCK’s Secretary

and a PCK shareholder. Defendant Tim Doutrich maintains a business address of

3333 Lincoln Highway East, Paradise, PA 17562 and a personal address of 911

Timber Line Drive, Gap PA 17527.

      13.    At all times relevant to this action, Defendant Tim Doutrich was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      14.    Defendant Charles Roth (“Defendant Roth”) is a citizen of the United

States and Pennsylvania, and, at all times relevant to this action, a Director of

Defendant PCK, as well as its accountant. Defendant Roth maintains a business




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address of 3333 Lincoln Highway East, Paradise, PA 17562 and a personal mailing

address of P.O. Box 255, Newtown Square, PA 19073.

       15.   At all times relevant to this action, Defendant Roth was an agent and/or

officer of Defendant PCK and acted directly or indirectly in the interest of Defendant

PCK.

       16.   At all times relevant to this action, the above-named defendants

qualified as Plaintiff’s employers as defined by the FMLA, as amended by the

FFCRA, the FLSA and Pennsylvania law.

       17.   At all times relevant to this action, the above-named defendants had the

power and authority to set and determine Plaintiff’s rate of pay and method of

compensation.

                              JURISDICTION AND VENUE

       18.   This Court has jurisdiction over this matter pursuant to 29 U.S.C. §

216(b) and 29 U.S.C. 2601, et seq.

       19.   This Court has pendant jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367, as those claims arise out of the same common nucleus

of operative fact as Plaintiff’s federal claims.

       20.   The venue in this district is proper pursuant to 28 U.S.C. § 1391,

inasmuch as Defendant PCK maintains a business location within this judicial

district, is currently doing business therein, all defendants reside in this judicial


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            Case 5:21-cv-03133-JFL Document 1 Filed 07/14/21 Page 7 of 55




district, and the events giving rise to these claims took place within this judicial

district.

            FACTUAL ALLEGATIONS RELATED TO VIOLATION OF THE FMLA

       21.     On or about June 3, 2020, Plaintiff informed Suzanne Babetski,

Defendant PCK’s Human Resources person, that his wife had tested positive for

COVID-19 and that Plaintiff was required to quarantine until he could be tested and

cleared by his doctor.

       22.     On or about June 5, 2020, Plaintiff was cleared by his doctor and

approved to return to work.

       23.     On or about June 5, 2020, Defendant Tim Doutrich informed Plaintiff

that, because of the risk of COVID-19, Plaintiff was not permitted to return to work

and forced Plaintiff to take a two week leave without pay.

       24.     On or about June 5, 2020, Randy Doan (“Doan”), Defendant’s Project

Manager, called Plaintiff and threatened him, stating that if he [Doan] contracted

COVID-19 from Plaintiff, he would “shoot [Plaintiff’s] dick off.”

       25.     On or about June 8, 2020, Defendant received a telephone call from his

physician’s office informing him there had been a breach in his medical records after

Defendant Tim Doutrich contacted Plaintiff’s doctor demanding information about

Plaintiff’s medical history and questioned Plaintiff’s ability to return to work.




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      26.    On or about June 8, 2020, Plaintiff was informed that Doan had

contacted several of Plaintiff’s customers and shared Plaintiff’s personal medical

information with them.

      27.    Doan is an employee and agent of Defendant PCK.

      28.    On or about June 8, 2020, and on multiple times thereafter, Plaintiff

complained to Defendant PCK’s Board of Directors of Defendant Tim Doutrich’s

and Doan’s threat and disclosure of his personal medical information.

      29.    Plaintiff informed PCK’s Board of Directors that he did not feel safe

working with Doan at PCK.

      30.    Defendant PCK took no action in response to Plaintiff’s complaint.

      31.    Pursuant to Defendant PCK’s handbook, Defendant PCK was required

to conduct an internal investigation of Plaintiff’s complaint.

      32.    Upon his return from his forced quarantine, Plaintiff emailed Ms.

Babetski requesting he be paid for the two weeks he was forced to quarantine.

      33.    Plaintiff received no response to his email to Ms. Babetski requesting

he paid for his time off.

      34.    Plaintiff was not paid for his forced two-week leave.

      35.    Defendant PCK, through its agents Defendant Tim Doutrich and Doan,

retaliated against Plaintiff by contacting his physician demanding personal medical

information and threatening Plaintiff.


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      36.       Following his return to work, Defendant PCK, through its agents and

employees, waged a campaign of harassment against Plaintiff based on his

exercising his federally protected rights under the FMLA, as amended by the

FFCRA.

         FACTUAL ALLEGATIONS RELATED TO VIOLATION OF THE FLSA
                     AND PENNSYLVANIA WAGE LAW

      37.       Plaintiff was employed full-time by Defendant PCK in a sales capacity.

      38.       Plaintiff worked an average of 60-70 hours per week.

      39.       At all times, Defendant PCK had actual knowledge of all hours worked

by Plaintiff.

      40.       As a salesperson, Plaintiff’s primary duty was making sales, designing

kitchens, and/or obtaining orders or contracts for PCK’s services.

      41.       In performance of his duties, Plaintiff spent more than 50% of his time

working from Defendant PCK’s place of business.

      42.       Plaintiff was not customarily and regularly engaged away from

Defendant PCK’s place of business.

      43.       Plaintiff’s job duties were not directly related to the management or

general business operations of Defendant PCK.

      44.       Plaintiff did not exercise discretion and independent judgement with

respect to matters of significance.



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        45.   Based on his job duties, Plaintiff was entitled to receive overtime pay

pursuant to the FLSA.

        46.   Defendant PCK failed to pay Plaintiff the overtime pay due him.

        47.   Plaintiff was not compensated on a salary basis of at least $684.00 per

week.

        48.   Defendant PCK paid Plaintiff on a draw and commission basis.

        49.   Plaintiff’s weekly draw was $250.00.

        50.   Upon information and belief, Defendant PCK used a monthly basis as

the representative period to calculate Plaintiff’s commissions owed.

        51.   Plaintiff’s weekly draw amount would be deducted from any

commission paid for a particular month.

        52.   Plaintiff and Defendant PCK did not have a written commission

agreement.

        53.   In late 2020 and in early 2021, Plaintiff complained to Defendant PCK

about the reductions in the amount of commissions he was being paid.

        54.   On or about December 9, 2020, Plaintiff was informed by Suzanne

Babetski, PCK’s accounts payable person, that payments to his client D&B

Woodworking were put on hold based on directives from PCK management, despite

the fact PCK owed D&B a large amount of money.




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      55.    Defendant PCK’s actions placed Plaintiff’s sales relationship with

D&B in jeopardy and made it extremely difficult for Plaintiff to conduct business

and affected his receipt of commission payments.

      56.    Defendant PCK’s actions had a direct and detrimental effect on

Plaintiff’s compensation, inasmuch as he was a commissioned employee.

      57.    Defendant PCK has never previously taken such actions with respect to

Plaintiff’s clients as described above.

      58.    Defendant PCK’s actions in freezing payments to D&B Woodworking

were related to his wage complaints.

      59.    Defendant PCK’s actions were designed to affect the terms and

conditions of Plaintiff’s employment in an attempt to force Plaintiff to quit.

      60.    Defendant PCK’s actions in freezing payment to D&B Woodworking

were endorsed and encouraged by the individual Defendants.

      61.    In December 2020, Defendant PCK, through its authorized agent

Defendant Roth, gave Plaintiff a document titled “Paradise Custom Kitchens, Inc.

Policies Adopted Effective January 1, 2021.”

      62.    The aforementioned policy was specifically directed and applied to

Plaintiff alone and not to Defendant PCK’s other employees.

      63.    The aforementioned policy states specifically “the following policies

apply only to jobs related to John L. Wenger.”


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       64.   The aforementioned policy, directed solely to Plaintiff, was issued in

part as a response to Plaintiff’s wage complaints.

       65.   Plaintiff was employed by Defendant PCK for approximately 30 years

and never previously has any similar document been created or forced upon another

employee of Defendant PCK.

       66.   Defendant Roth informed Plaintiff that if he did not sign and adhere to

the document, he would be written up and terminated.

       67.   Defendant Roth’s and Defendant PCK’s actions were designed to affect

the terms and conditions of employment in an attempt to force Plaintiff to quit.

       68.   Defendant Roth’s actions and statements as outlined above were

endorsed and encouraged by all Defendants.

       69.   In late 2020 or early 2021, Defendant Tim Doutrich and Dan Beane,

Defendant PCK’s Operations Manager, threatened to sue Plaintiff’s subcontractor,

Pennsylvania Plint Mill Shop (“the Mill Shop”), if they continued to work with

Plaintiff.

       70.   Defendant Tim Doutrich’s and Beane’s threats against Plaintiff’s sub-

contractor were designed to reduce Plaintiff’s compensation and encourage

Plaintiff’s customers to do business with other PCK employees.

       71.   Defendant PCK’s actions and statements threatening to sue the Mill

Shop were endorsed and encouraged by the individual Defendants.


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       72.    Defendants’ actions threatening to sue the Mill Shop were designed to

affect the terms and conditions of Plaintiff’s employment in an attempt to force

Plaintiff to quit.

       73.    On January 30, 2021, Plaintiff sent an email to Defendants Roth,

McCullough and Tim Doutrich expressing his concern over the actions Defendants

were taking in reducing his compensation.

       74.    Plaintiff was not provided a response to his January 30, 2021 email.

       75.    On February 1, 2021, Plaintiff received an email from Defendant Roth,

copying Defendants Ruth Doutrich, and Tim Doutrich advising Plaintiff that he

owed PCK for overpaid commissions from January 2018 through May 31, 2020 (8

months prior) in the amount of $14,011.66 that were allegedly paid to him in error.

       76.    Defendant PCK informed Plaintiff the amounts would be deducted

from current and future commission payments to him.

       77.    Plaintiff did not authorize these deductions or agree with Defendant

PCK’s assertion as to owed commissions.

       78.    As a result of PCK withholding his commission, Plaintiff was paid a

total of $1,000.00 for the month of February despite that he worked approximately

240 hours.

       79.    Defendants’ actions and statements were endorsed and encouraged by

the individual Defendants.


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       80.   Defendants’ actions were designed to affect the terms and conditions of

Plaintiff’s employment in an attempt to force Plaintiff to quit.

       81.   Plaintiff was paid de minimis commissions in January, February, and

March 2021, less than to which he was entitled based on the amount of work

performed by him, the projects sold by him, and the projects substantially completed.

       82.   On at least four occasions, Plaintiff requested a detailed itemization of

the commissions to which he was entitled based on the jobs completed.

       83.   Finally, over a month after his initial request, Defendant PCK provided

him only a generalized statement regarding commissions to which he may be

entitled.

       84.   At the time of his termination, numerous projects which he sold had

been substantially completed, and/or in the process of completion.

       85.   Plaintiff invested thousands of hours selling and servicing these

projects over the course of approximately the prior 18 months yet has not been fully

paid for the work performed by him.

       86.   The work performed by Plaintiff in selling and servicing these accounts

and compensation due constitutes earned wages of Plaintiff.

       87.   Plaintiff has been paid no commissions for April and May 2021.




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      88.    In January 2021, Defendant PCK, by and through the individual

Defendants, began assigning some of Plaintiff’s duties to other PCK employees in

an effort to reduce Plaintiff’s compensation and force him to quit.

      89.    Specifically, Defendant PCK, by and through the individual Defendants

began a letter writing campaign to Plaintiff’s clients advising them that he no longer

had the authority to sign purchase orders.

      90.    In Plaintiff’s 30 years of prior employment with Defendant PCK, he

always had the authority to sign purchase orders.

      91.    Defendant PCK’s actions and statements related to its directive that

Plaintiff was no longer entitled to sign purchase orders were endorsed and

encouraged by the individual Defendants.

      92.    Defendant PCK’s actions in terminating his ability to sign purchase

orders was related to Plaintiff’s wage complaints.

      93.    Defendant PCK’s actions in terminating his ability to sign purchase

orders were designed to affect the terms and conditions of Plaintiff’s employment in

an attempt to force Plaintiff to quit.

      94.    In January 2021, Defendant Roth threatened to call the “State” to have

Plaintiff audited.

      95.    Defendant Roth’s actions and statements were endorsed and

encouraged by the individual Defendants.


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      96.    Defendant Roth’s actions in threatening an audit were in part in

retaliation for Plaintiff’s wage complaints.

      97.    Defendant Roth’s actions were designed to affect the terms and

conditions of Plaintiff’s employment in an attempt to force Plaintiff to quit.

      98.    On or about January 12, 2021, Defendant Roth sent Plaintiff an email

accusing him of failing to bill a specific job and accusing him of sales tax fraud.

      99.    The allegations as presented by Defendant Roth were false and

designed to harass and intimidate Plaintiff in an effort to force him to quit.

      100. Defendant Roth’s actions and statements were endorsed and

encouraged by the individual Defendants.

      101. Defendant Roth’s actions were designed to affect the terms and

conditions of Plaintiff’s employment in an attempt to force Plaintiff to quit.

      102. On January 19, 2021, Plaintiff received a verbal warning (in writing)

alleging he violated the recently adopted policy specifically targeted towards him by

signing a purchase order.

      103. In his 30 years of employment, Plaintiff never previously received a

disciplinary warning.

      104. Defendant’s verbal warning was based on a retaliatory policy and was

manufactured in an attempt to force Plaintiff to quit.




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      105. Defendants’ actions and statements were endorsed and encouraged by

the individual Defendants.

      106. Defendants’ actions were designed to affect the terms and conditions of

Plaintiff’s employment in an attempt to force Plaintiff to quit.

      107. Considering the daily changes to Plaintiff’s job duties, on January 21,

2021, Plaintiff requested a written job description from Defendant PCK and the

individual Defendants.

      108. Despite multiple requests, Defendant PCK never provided Plaintiff

with a written job description.

      109. In early March 2021, Plaintiff contacted the Pennsylvania Department

of Labor and Industry (“L&I”) to lodge a complaint related to his unpaid wages.

      110. On or about March 12, 2021, Plaintiff gave Ms. Babetski a note from

L&I and told the L&I investigator would be contacting Defendant PCK to discuss

the matter.

      111. Upon information and belief, Ms. Babetski provided the note from L&I

to Defendant Tim Doutrich.

      112. On or about March 17, 2021, Plaintiff received a telephone call from

the L&I investigator during which he informed Plaintiff that he was able to reach

Defendant Tim Doutrich and was in the process of setting up a meeting with him to

discuss Plaintiff’s unpaid wages.


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      113. On March 20, 2021, i.e. 3 days after the L&I investigator’s contact with

Defendant Tim Doutrich, Plaintiff’s employment was terminated.

      114. On March 20, 2021, four individuals entered Plaintiff’s office to

terminated him, including a recently hired security guard.

      115. Defendant Doan, who had previously threatened Plaintiff, also was

present at Plaintiff’s termination.

      116. During the termination meeting, despite Plaintiff’s request not to do so,

Defendant Doan video and audio recorded the termination meeting.

      117. Defendant Doan had never previously been involved in any employee

termination meeting and his presence was solely for the purpose of harassing and

intimidating Plaintiff.

      118. Plaintiff’s termination constituted an adverse employment action.

      119. Defendants’ actions in terminating Plaintiff were endorsed and

encouraged by the individual Defendants.

      120. All actions taken by Defendants against Plaintiff for alleged

disciplinary reasons were phony, manufactured and pretext for his termination.

      121. Plaintiff alleges Defendants retaliated against him with respect to the

terms and conditions of his employment.

                        COUNT I—DEFENDANT PCK
              VIOLATION OF THE FMLA—29 U.S.C. § 2601 ET SEQ.
                       AS AMENDED BY THE FFFCRA
                       (FORCED LEAVE WITHOUT PAY)
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      122. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

      123. Defendant PCK employs less than 500 individuals.

      124. As a result of his wife’s diagnosis of COVID-19, Defendant PCK

forced Plaintiff to take two weeks unpaid leave.

      125. Pursuant to the FFCRA, Plaintiff was entitled to be paid for the two

weeks Defendant PCK required him to stay home.

      126. Defendant PCK’s actions in forcing Plaintiff to take leave and failing

to pay him for the leave violated the Families First Coronavirus Response Act.

      WHEREFORE, Defendant PCK is liable to Plaintiff for unpaid wages in an

amount to be proven at trial, plus an equal amount as liquidated damages, plus

interest (both pre- and post-judgment), reasonable attorneys’ fees, the costs of this

action, and any other and further relief this Court deems appropriate.

                   COUNT II—DEFENDANT TIM DOUTRICH
                VIOLATION OF FMLA—29 U.S.C. § 2601 ET SEQ.
                       AS AMENDED BY THE FFFCRA
                       (FORCED LEAVE WITHOUT PAY)

      127. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      128. As a result of his wife’s diagnosis of COVID-19, Defendant Tim

Doutrich forced Plaintiff to take two weeks unpaid leave.

      129. Defendant Tim Doutrich had the power to hire and fire Plaintiff.
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       130. Defendant Tim Doutrich controlled Plaintiff’s terms and conditions of

employment.

       131. Defendant Tim Doutrich determined Plaintiff’s compensation and the

rate and method of payment.

       132. Pursuant to the FFCRA, Plaintiff was entitled to be paid for the two

weeks Defendant Tim Doutrich required him to stay home.

       133. Defendant Tim Doutrich’s actions in forcing Plaintiff to take leave and

failing to pay him for the leave violated the Families First Coronavirus Response

Act.

       WHEREFORE, Defendant Tim Doutrich is liable to Plaintiff for unpaid

wages in an amount to be proven at trial, plus an equal amount as liquidated

damages, plus interest (both pre- and post-judgment), reasonable attorneys’ fees, the

costs of this action, and any other and further relief this Court deems appropriate.

                       COUNT III—DEFENDANT PCK
                VIOLATION OF FMLA—29 U.S.C. § 2601 ET SEQ.
                       AS AMENDED BY THE FFFCRA
                           (FMLA INTERFERENCE)

       134. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

       135. Pursuant to the FMLA, as amended by the FFCRA, Plaintiff was

entitled to paid leave for his forced leave of absence related to COVID-19.



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      136. Defendant PCK took adverse action that interfered with Plaintiff’s right

to paid leave under the FFCRA.

      137. Defendant PCK denied Plaintiff his right to paid leave.

      138. Defendant PCK’s actions were related to Plaintiff’s exercise or attempt

to exercise of his FMLA rights.

      WHEREFORE, Defendant PCK is liable to Plaintiff for unpaid wages in an

amount to be proven at trial, plus an equal amount as liquidated damages, plus

interest (both pre- and post-judgment), reasonable attorneys’ fees, the costs of this

action, and any other and further relief this Court deems appropriate.

                   COUNT IV—DEFENDANT TIM DOUTRICH
                VIOLATION OF FMLA—29 U.S.C. § 2601 ET SEQ.
                       AS AMENDED BY THE FFFCRA
                           (FMLA INTERFERENCE)

      139. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

      140. Pursuant to the FMLA, as amended by the FFCRA, Plaintiff was

entitled to paid leave for his forced leave of absence related to COVID-19.

      141. Defendant Tim Doutrich took adverse action that interfered with

Plaintiff’s right to paid leave under the FFCRA.

      142. Defendant Tim Doutrich denied Plaintiff his right to paid leave.

      143. Defendant Tim Doutrich’s actions were related to Plaintiff’s exercise

or attempt to exercise of his FMLA rights.
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      144. Defendant Tim Doutrich had the power to hire and fire Plaintiff.

      145. Defendant Tim Doutrich controlled Plaintiff’s terms and conditions of

employment.

      146. Defendant Tim Doutrich determined Plaintiff’s compensation and the

rate and method of payment.

      WHEREFORE, Defendant Tim Doutrich is liable to Plaintiff for unpaid

wages in an amount to be proven at trial, plus an equal amount as liquidated

damages, plus interest (both pre- and post-judgment), reasonable attorneys’ fees, the

costs of this action, and any other and further relief this Court deems appropriate.

                        COUNT V—DEFENDANT PCK
                VIOLATION OF FMLA—29 U.S.C. § 2601 ET SEQ.
                       AS AMENDED BY THE FFFCRA
                           (FMLA RETALIATION)

      147. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

      148. Pursuant to the FMLA, as amended by the FFCRA, Plaintiff was

entitled to paid leave for his forced leave of absence related to COVID-19.

      149. Plaintiff engaged in a protected activity—requesting paid medical leave

for his forced absence pursuant to the FFCRA.

      150. Defendant PCK, through its agents Defendant Tim Doutrich and Doan,

retaliated against Plaintiff by denying him paid leave, contacting his physician

demanding personal medical information and threatening Plaintiff.
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      151. Defendant PCK took a materially adverse action against Plaintiff by

forcing him to take unpaid leave and threatening him.

      152. There exists a causal connection between Plaintiff’s protected activity

and the adverse action taken by Defendant PCK.

      WHEREFORE, Defendant PCK is liable to Plaintiff for unpaid wages in an

amount to be proven at trial, plus an equal amount as liquidated damages, plus

interest (both pre- and post-judgment), reasonable attorneys’ fees, the costs of this

action, and any other and further relief this Court deems appropriate.

                    COUNT VI—DEFENDANT TIM DOUTRICH
                 VIOLATION OF FMLA—29 U.S.C. § 2601 ET SEQ.
                        AS AMENDED BY THE FFCRA
                            (FMLA RETALIATION)

      153. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

      154. Pursuant to the FMLA, as amended by the FFCRA, Plaintiff was

entitled to paid leave for his forced leave of absence related to COVID-19.

      155. Plaintiff engaged in a protected activity—requesting paid medical leave

for his forced absence pursuant to the FFCRA.

      156. Defendant Tim Doutrich retaliated against Plaintiff by denying him

paid leave, contacting his physician demanding personal medical information and

threatening Plaintiff.



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      157. Defendant Tim Doutrich took a materially adverse action against

Plaintiff by forcing him to take unpaid leave.

      158. There exists a causal connection between Plaintiff’s protected activity

and the adverse action taken by Defendant Tim Doutrich.

      WHEREFORE, Defendant Tim Doutrich is liable to Plaintiff for unpaid

wages in an amount to be proven at trial, plus an equal amount as liquidated

damages, plus interest (both pre- and post-judgment), reasonable attorneys’ fees, the

costs of this action, and any other and further relief this Court deems appropriate.

                        COUNT VII—DEFENDANT PCK
                VIOLATION OF THE FLSA--29 U.S.C. §§ 201, et seq.
                          (FAILURE TO PAY OVERTIME)

      159. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

      160. Plaintiff was employed full-time by Defendant PCK in a sales capacity.

      161. Plaintiff worked an average of 60-70 hours per week.

      162. At all times, Defendant PCK had actual knowledge of all hours worked

by Plaintiff.

      163. As a salesperson, Plaintiff’s primary duty was making sales, designing

kitchens, and/or obtaining orders or contracts for services.

      164. In performance of his duties, Plaintiff spent more than 50% of his time

working from Defendant PCK’s place of business.


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        165. Plaintiff was not customarily and regularly engaged away from

Defendant PCK’s place of business.

        166. Plaintiff’s job duties were not directly related to the management or

general business operations of Defendant PCK.

        167. Plaintiff did not exercise discretion and independent judgement with

respect to matters of significance.

        168. Based on his job duties, Plaintiff was entitled to receive overtime pay

pursuant to the FLSA.

        169. Defendant PCK failed to pay Plaintiff the overtime pay due him.

        170. Plaintiff was not compensated on a salary basis of at least $684.00 per

week.

        171. Based on his job duties, Plaintiff was entitled to receive overtime pay

pursuant to the FLSA.

        172. Pursuant to the FLSA, employers must pay employees such as Plaintiff

for hours worked in excess of 40 per week at an overtime hourly rate not less than

1.5 times the employee’s regular rate of pay.

        173. From March 2020 through his termination in March 2021, Defendant

PCK failed to pay Plaintiff overtime wages for overtime worked by him in excess of

40 hours per week at a rate in compliance with the FLSA overtime compensation

mandate.


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      174. Defendant PCK’s action as described above violated the FLSA.

      175. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant PCK is liable to Plaintiff for unpaid wages in an

amount to be proven at trial, plus an equal amount as liquidated damages, plus

interest (both pre- and post-judgment), reasonable attorneys’ fees, the costs of this

action, and any other and further relief this Court deems appropriate.

                   COUNT VIII—DEFENDANT RUTH DOUTRICH
                VIOLATION OF THE FLSA--29 U.S.C. §§ 201, et seq.
                          (FAILURE TO PAY OVERTIME)

      176. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

      177. At all times relevant to this action, Defendant Ruth Doutrich was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      178. At all times, Defendant Ruth Doutrich had actual knowledge of all

hours worked by Plaintiff.

      179. Under the FLSA, the definition of “employer” includes “any person

acting directly or indirectly in the interest of an employer in relation to an employee.”

      180. At all times relevant to this action, Defendant Ruth Doutrich qualified

as Plaintiff’s employer as defined by the FLSA.


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      181. Under the FLSA, an individual may be liable for unpaid wages and

overtime if they exercise significant control over the company’s operations.

      182. At all times relevant to this action, Defendant Ruth Doutrich had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      183. From March 2020 through his termination in March 2021, Defendant

Ruth Doutrich failed to pay Plaintiff overtime wages for overtime worked by him in

excess of 40 hours per week at a rate in compliance with the FLSA overtime

compensation mandate.

      184. Defendant Ruth Doutrich’s action as described above violated the

FLSA.

      185. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant Ruth Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, plus an equal amount as

liquidated damages, plus interest (both pre- and post-judgment), reasonable

attorneys’ fees, the costs of this action, and any other and further relief this Court

deems appropriate.

                   COUNT IX—DEFENDANT TIM DOUTRICH
               VIOLATION OF THE FLSA--29 U.S.C. §§ 201, et seq.
                         (FAILURE TO PAY OVERTIME)


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      186. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      187. At all times relevant to this action, Defendant Tim Doutrich was

Defendant PCK’s Secretary and a PCK shareholder.

      188. At all times, Defendant Tim Doutrich had actual knowledge of all hours

worked by Plaintiff.

      189. Under the FLSA, the definition of “employer” includes “any person

acting directly or indirectly in the interest of an employer in relation to an employee.”

      190. At all times relevant to this action, Defendant Tim Doutrich qualified

as Plaintiff’s employer as defined by the FLSA.

      191. Under the FLSA, an individual may be liable for unpaid wages and

overtime if they exercise significant control over the company’s operations.

      192. At all times relevant to this action, Defendant Tim Doutrich had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      193. From March 2020 through his termination in March 2021, Defendant

Tim Doutrich failed to pay Plaintiff overtime wages for overtime worked by him in

excess of 40 hours per week at a rate in compliance with the FLSA overtime

compensation mandate.




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      194. Defendant Tim Doutrich’s action as described above violated the

FLSA.

      195. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant Tim Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, plus an equal amount as

liquidated damages, plus interest (both pre- and post-judgment), reasonable

attorneys’ fees, the costs of this action, and any other and further relief this Court

deems appropriate.

                    COUNT X—DEFENDANT CHARLES ROTH
                VIOLATION OF THE FLSA--29 U.S.C. §§ 201, et seq.
                          (FAILURE TO PAY OVERTIME)

      196. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      197. At all times relevant to this action, Defendant Charles Roth was a

Director of Defendant PCK, as well as its accountant.

      198. At all times, Defendant Charles Roth had actual knowledge of all hours

worked by Plaintiff.

      199. Under the FLSA, the definition of “employer” includes “any person

acting directly or indirectly in the interest of an employer in relation to an employee.”




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      200. At all times relevant to this action, Defendant Charles Roth qualified as

Plaintiff’s employer as defined by the FLSA.

      201. Under the FLSA, an individual may be liable for unpaid wages and

overtime if they exercise significant control over the company’s operations.

      202. At all times relevant to this action, Defendant Charles Roth had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      203. From March 2020 through his termination in March 2021, Defendant

Charles Roth failed to pay Plaintiff overtime wages for overtime worked by him in

excess of 40 hours per week at a rate in compliance with the FLSA overtime

compensation mandate.

      204. Defendant Charles Roth’s action as described above violated the FLSA.

      205. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant Charles Roth is individually liable to Plaintiff for

unpaid wages in an amount to be proven at trial, plus an equal amount as liquidated

damages, plus interest (both pre- and post-judgment), reasonable attorneys’ fees, the

costs of this action, and any other and further relief this Court deems appropriate.

                        COUNT XI—DEFENDANT PCK
               VIOLATION OF THE FLSA—29 U.S.C. §§ 201, et seq.
                               (RETALIATION)


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      206. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      207. Plaintiff engaged in statutorily protected conduct under the FLSA by

questioning the amount of his compensation.

      208. As a result of his wage-related complaint, Defendant PCK took adverse

actions against him, by way of instituting retaliatory policies directed towards him,

disciplining him, reducing his compensation, and ultimately terminating him.

      209. A causal link exists between Plaintiff’s conduct and the adverse

employment actions taken against him.

      210. The FLSA prohibits an employer from discharging or in any other

manner discriminating against any employee because such employee has lodged a

wage complaint.

      211. Defendant PCK’s actions as described above violated the FLSA’s

prohibition against retaliation.

      212. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant PCK is liable to Plaintiff for unpaid wages in an

amount to be proven at trial, backpay, front pay, plus an equal amount as liquidated

damages, plus interest (both pre- and post-judgment), reasonable attorneys’ fees, the

costs of this action, and any other and further relief this Court deems appropriate.


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                  COUNT XII—DEFENDANT RUTH DOUTRICH
               VIOLATION OF THE FLSA—29 U.S.C. §§ 201, et seq.
                               (RETALIATION)

      213. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      214. At all times relevant to this action, Defendant Ruth Doutrich was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      215. At all times, Defendant Ruth Doutrich had actual knowledge of all

hours worked by Plaintiff.

      216. Under the FLSA, the definition of “employer” includes “any person

acting directly or indirectly in the interest of an employer in relation to an employee.”

      217. Under the FLSA, an individual may be liable for retaliation under the

FLSA.

      218. At all times relevant to this action, Defendant Ruth Doutrich had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      219. At all times relevant to this action, Defendant Ruth Doutrich qualified

as Plaintiff’s employer as defined by the FLSA.

      220. Plaintiff engaged in statutorily protected conduct under the FLSA by

questioning the amount of his compensation.


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      221. As a result of his wage-related complaint, Defendant Ruth Doutrich

took adverse actions against him, by way of instituting retaliatory policies directed

towards him, disciplining him, reducing his compensation, and ultimately

terminating him.

      222. A causal link exists between Plaintiff’s conduct and the adverse

employment actions taken against him.

      223. The FLSA prohibits an employer from discharging or in any other

manner discriminating against any employee because such employee has lodged a

wage complaint.

      224. Defendant Ruth Doutrich’s actions as described above violated the

FLSA’s prohibition against retaliation.

      225. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant Ruth Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, backpay, front pay, plus an equal

amount as liquidated damages, plus interest (both pre- and post-judgment),

reasonable attorneys’ fees, the costs of this action, and any other and further relief

this Court deems appropriate.

                   COUNT XIII—DEFENDANT TIM DOUTRICH
               VIOLATION OF THE FLSA—29 U.S.C. §§ 201, et seq.
                               (RETALIATION)


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      226. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      227. At all times relevant to this action, Defendant Tim Doutrich was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      228. At all times, Defendant Tim Doutrich had actual knowledge of all hours

worked by Plaintiff.

      229. Under the FLSA, the definition of “employer” includes “any person

acting directly or indirectly in the interest of an employer in relation to an employee.”

      230. Under the FLSA, an individual may be liable for retaliation under the

FLSA.

      231. At all times relevant to this action, Defendant Tim Doutrich had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      232. At all times relevant to this action, Defendant Tim Doutrich qualified

as Plaintiff’s employer as defined by the FLSA.

      233. Plaintiff engaged in statutorily protected conduct under the FLSA by

questioning the amount of his compensation.

      234. As a result of his wage-related complaint, Defendant Tim Doutrich took

adverse actions against him, by way of instituting retaliatory policies directed


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towards him, disciplining him, reducing his compensation, and ultimately

terminating him.

      235. A causal link exists between Plaintiff’s conduct and the adverse

employment actions taken against him.

      236. The FLSA prohibits an employer from discharging or in any other

manner discriminating against any employee because such employee has lodged a

wage complaint.

      237. Defendant Tim Doutrich’s actions as described above violated the

FLSA’s prohibition against retaliation.

      238. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant Tim Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, backpay, front pay, plus an equal

amount as liquidated damages, plus interest (both pre- and post-judgment),

reasonable attorneys’ fees, the costs of this action, and any other and further relief

this Court deems appropriate.

                   COUNT XIV—DEFENDANT CHARLES ROTH
               VIOLATION OF THE FLSA—29 U.S.C. §§ 201, et seq.
                               (RETALIATION)

      239. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.


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      240. At all times relevant to this action, Defendant Charles Roth was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      241. At all times, Defendant Charles Roth had actual knowledge of all hours

worked by Plaintiff.

      242. Under the FLSA, the definition of “employer” includes “any person

acting directly or indirectly in the interest of an employer in relation to an employee.”

      243. Under the FLSA, an individual may be liable for retaliation under the

FLSA.

      244. At all times relevant to this action, Defendant Charles Roth had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      245. At all times relevant to this action, Defendant Charles Roth qualified as

Plaintiff’s employer as defined by the FLSA.

      246. Plaintiff engaged in statutorily protected conduct under the FLSA by

questioning the amount of his compensation.

      247. As a result of his wage-related complaint, Defendant Charles Roth took

adverse actions against him, by way of instituting retaliatory policies directed

towards him, disciplining him, reducing his compensation, and ultimately

terminating him.


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      248. A causal link exists between Plaintiff’s conduct and the adverse

employment actions taken against him.

      249. The FLSA prohibits an employer from discharging or in any other

manner discriminating against any employee because such employee has lodged a

wage complaint.

      250. Defendant Charles Roth’s actions as described above violated the

FLSA’s prohibition against retaliation.

      251. The foregoing conduct, as alleged above, constitutes a willful violation

of the FLSA.

      WHEREFORE, Defendant Charles Roth is individually liable to Plaintiff for

unpaid wages in an amount to be proven at trial, backpay, front pay, plus an equal

amount as liquidated damages, plus interest (both pre- and post-judgment),

reasonable attorneys’ fees, the costs of this action, and any other and further relief

this Court deems appropriate.

                       COUNT XV—DEFENDANT PCK
        VIOLATION OF THE PA MINIMUM WAGE ACT—43 P.S. §§333.101
                        (FAILURE TO PAY OVERTIME)

      252. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      253. Plaintiff was employed full-time by Defendant PCK in a sales capacity.

      254. Plaintiff worked an average of 60-70 hours per week.


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        255. At all times, Defendant PCK had actual knowledge of all hours worked

by Plaintiff.

        256. As a salesperson, Plaintiff’s primary duty was making sales, designing

kitchens, and/or obtaining orders or contracts for services.

        257. In performance of his duties, Plaintiff spent more than 50% of his time

working from Defendant PCK’s place of business.

        258. Plaintiff was not customarily and regularly engaged away from

Defendant PCK’s place of business.

        259. Plaintiff’s job duties were not directly related to the management or

general business operations of Defendant PCK.

        260. Plaintiff did not exercise discretion and independent judgement with

respect to matters of significance.

        261. Plaintiff was not compensated on a salary basis of at least $684.00 per

week.

        262. Based on his job duties, Plaintiff was entitled to receive overtime pay

pursuant to the Pennsylvania Minimum Wage Act.

        263. Defendant PCK failed to pay Plaintiff overtime pay due him.

        264. Pursuant to the Pennsylvania Minimum Wage Act, employers must pay

employees such as Plaintiff for hours worked in excess of 40 per week at an overtime

hourly rate not less than 1.5 times the employee’s regular rate of pay.


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      265. From March 2020 through his termination in March 2021, Defendant

PCK failed to pay Plaintiff overtime wages for overtime worked by him in excess of

40 hours per week at a rate in compliance with the Pennsylvania Minimum Wage

Act’s overtime compensation mandate.

      266. Defendant PCK’s action as described above violated the Pennsylvania

Minimum Wage Act.

      267. The foregoing conduct, as alleged above, constitutes a willful violation

of the Pennsylvania Minimum Wage Act.

      WHEREFORE, Defendant PCK is liable to Plaintiff for unpaid wages in an

amount to be proven at trial, plus an equal amount as liquidated damages, plus

interest (both pre- and post-judgment), reasonable attorneys’ fees, the costs of this

action, and any other and further relief this Court deems appropriate.

                COUNT XVI—DEFENDANT RUTH DOUTRICH
        VIOLATION OF THE PA MINIMUM WAGE ACT—43 P.S. §§333.101
                        (FAILURE TO PAY OVERTIME)

      268. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      269. At all times relevant to this action, Defendant Ruth Doutrich was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.




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      270. At all times, Defendant Ruth Doutrich had actual knowledge of all

hours worked by Plaintiff.

      271. Under the Pennsylvania Minimum Wage Act, the definition of

“employer” includes “any individual, partnership, association, corporation, business

trust, or any person or group of persons acting, directly or indirectly, in the interest

of an employer in relation to any employe.”

      272. At all times relevant to this action, Defendant Ruth Doutrich qualified

as Plaintiff’s employer as defined by the Pennsylvania Minimum Wage Act.

      273. Under the Pennsylvania Minimum Wage Act, an individual may be

liable for unpaid wages and overtime if they exercise significant control over the

company’s operations.

      274. At all times relevant to this action, Defendant Ruth Doutrich had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      275. From March 2020 through his termination in March 2021, Defendant

Ruth Doutrich failed to pay Plaintiff overtime wages for overtime worked by him in

excess of 40 hours per week at a rate in compliance with the Pennsylvania Minimum

Wage Act’s overtime compensation mandate.

      276. Defendant Ruth Doutrich’s action as described above violated the

Pennsylvania Minimum Wage Act.


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      277. The foregoing conduct, as alleged above, constitutes a willful violation

of the Pennsylvania Minimum Wage Act.

      WHEREFORE, Defendant Ruth Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, plus an equal amount as

liquidated damages, plus interest (both pre- and post-judgment), reasonable

attorneys’ fees, the costs of this action, and any other and further relief this Court

deems appropriate.

                 COUNT XVII—DEFENDANT TIM DOUTRICH
        VIOLATION OF THE PA MINIMUM WAGE ACT—43 P.S. §§333.101
                        (FAILURE TO PAY OVERTIME)

      278. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      279. At all times relevant to this action, Defendant Tim Doutrich was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      280. At all times, Defendant Tim Doutrich had actual knowledge of all hours

worked by Plaintiff.

      281. Under the Pennsylvania Minimum Wage Act, the definition of

“employer” includes “any individual, partnership, association, corporation, business

trust, or any person or group of persons acting, directly or indirectly, in the interest

of an employer in relation to any employe.”


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      282. At all times relevant to this action, Defendant Tim Doutrich qualified

as Plaintiff’s employer as defined by the Pennsylvania Minimum Wage Act.

      283. Under the Pennsylvania Minimum Wage Act, an individual may be

liable for unpaid wages and overtime if they exercise significant control over the

company’s operations.

      284. At all times relevant to this action, Defendant Tim Doutrich had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      285. From March 2020 through his termination in March 2021, Defendant

Tim Doutrich failed to pay Plaintiff overtime wages for overtime worked by him in

excess of 40 hours per week at a rate in compliance with the Pennsylvania Minimum

Wage Act’s overtime compensation mandate.

      286. Defendant Tim Doutrich’s action as described above violated the

Pennsylvania Minimum Wage Act.

      287. The foregoing conduct, as alleged above, constitutes a willful violation

of the Pennsylvania Minimum Wage Act.

      WHEREFORE, Defendant Tim Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, plus an equal amount as

liquidated damages, plus interest (both pre- and post-judgment), reasonable




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attorneys’ fees, the costs of this action, and any other and further relief this Court

deems appropriate.

                COUNT XVIII—DEFENDANT CHARLES ROTH
        VIOLATION OF THE PA MINIMUM WAGE ACT—43 P.S. §§333.101
                        (FAILURE TO PAY OVERTIME)

      288. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      289. At all times relevant to this action, Defendant Charles Roth was an

agent and/or officer of Defendant PCK and acted directly or indirectly in the interest

of Defendant PCK.

      290. At all times, Defendant Charles Roth had actual knowledge of all hours

worked by Plaintiff.

      291. Under the Pennsylvania Minimum Wage Act, the definition of

“employer” includes “any individual, partnership, association, corporation, business

trust, or any person or group of persons acting, directly or indirectly, in the interest

of an employer in relation to any employe.”

      292. At all times relevant to this action, Defendant Charles Roth qualified as

Plaintiff’s employer as defined by the Pennsylvania Minimum Wage Act.

      293. Under the Pennsylvania Minimum Wage Act, an individual may be

liable for unpaid wages and overtime if they exercise significant control over the

company’s operations.


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      294. At all times relevant to this action, Defendant Charles Roth had the

power and authority to set and determine Plaintiff’s rate of pay, method of

compensation and other terms and conditions of employment.

      295. From March 2020 through his termination in March 2021, Defendant

Charles Roth failed to pay Plaintiff overtime wages for overtime worked by him in

excess of 40 hours per week at a rate in compliance with the Pennsylvania Minimum

Wage Act’s overtime compensation mandate.

      296. Defendant Charles Roth’s action as described above violated the

Pennsylvania Minimum Wage Act.

      297. The foregoing conduct, as alleged above, constitutes a willful violation

of the Pennsylvania Minimum Wage Act.

      WHEREFORE, Defendant Charles Roth is individually liable to Plaintiff for

unpaid wages in an amount to be proven at trial, plus an equal amount as liquidated

damages, plus interest (both pre- and post-judgment), reasonable attorneys’ fees, the

costs of this action, and any other and further relief this Court deems appropriate.

                          COUNT XIX—DEFENDANT PCK
            VIOLATION OF THE PA WAGE PAYMENT AND COLLECTION LAW
                            43 PA.C.S. §260.1, ET SEQ.

      298. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.




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      299. Under the Pennsylvania Wage Payment and Collection Law

(“PWPCL”), the term “employer” includes “every person, firm, partnership,

association, corporation, receiver or other officer of a court of this Commonwealth

and any agent or officer of the above-mentioned classes employing any person in

this Commonwealth.” 43 Pa C.S. § 260.2a.

      300. Defendant PCK is an employer for purposes of the PWPCL.

      301. Defendant PCK agreed to compensate Plaintiff on a commission basis

for sales made.

      302. At the time of his termination, numerous projects which Plaintiff sold

had been substantially completed, and/or in the process of completion.

      303. Plaintiff invested thousands of hours selling and servicing these

projects over the course of approximately the prior 18 months yet was not

compensated for the work performed by him.

      304. The work performed by Plaintiff in selling and servicing these accounts

and compensation due constitutes earned wages of Plaintiff.

      305. “Wages” for purposes of the PWPCL include “all earnings of an

employee, regardless of whether determined on time, task, piece, commission or

other method of calculation …” 43 Pa C.S. § 260.2a.

      306. Plaintiff’s unpaid commissions constitute wages as defined under the

PWPCL.


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      307. Pursuant to the PWPCL, Plaintiff has contractual entitlement to

compensation for his commissions.

      308. Pursuant to the PWPCL, “[w]henever an employer separates an

employe[e] from the payroll, or whenever an employe[e] quits or resigns his

employment, the wages or compensation earned shall become due and payable not

later than the next regular payday of his employer on which such wages would

otherwise be due and payable.” 43 Pa C.S. § 260.3.

      309. Defendant PCK has failed to pay Plaintiff commissions owed to him

since his termination in March 2021.

      310. Defendant PCK’s aforementioned actions constitute a violation of the

PWPCL.

      311. Defendant PCK deducted from Plaintiff’s wages amounts for an alleged

overpayment error.

      312. Plaintiff did not authorize Defendant PCK’s deduction from his wages.

      313. Defendant PCK’s deductions from his wages are impermissible under

the PWPCL.

      314. Pursuant to the PWPCL, Plaintiff is entitled to liquidated damages in

the amount of 25% of the total wages due or $500.00, whichever is greater, as well

as payment for his attorneys’ fees.




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      WHEREFORE, Defendant PCK is liable to Plaintiff for unpaid wages in an

amount to be proven at trial, plus an equal amount as liquidated damages, plus

interest (both pre- and post-judgment), reasonable attorneys’ fees, the costs of this

action, and any other and further relief this Court deems appropriate.

                COUNT XX—DEFENDANT RUTH DOUTRICH
        VIOLATION OF THE PA WAGE PAYMENT AND COLLECTION LAW
                        43 PA.C.S. §260.1, ET SEQ.

      315. The paragraphs set forth above are hereby incorporated by reference

as though the same were fully set forth at length herein.

      316. Under the Pennsylvania Wage Payment and Collection Law

(“PWPCL”), the term “employer” includes “every person, firm, partnership,

association, corporation, receiver or other officer of a court of this Commonwealth

and any agent or officer of the above-mentioned classes employing any person in

this Commonwealth.” 43 Pa C.S. § 260.2a.

      317. Defendant Ruth Doutrich is an employer for purposes of the PWPCL.

      318. Defendant agreed to compensate Plaintiff on a commission basis for

sales made.

      319. At the time of his termination, numerous projects which Plaintiff sold

had been substantially completed, and/or in the process of completion.




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      320. Plaintiff invested thousands of hours selling and servicing these

projects over the course of approximately the prior 18 months yet was not

compensated for the work performed by him.

      321. The work performed by Plaintiff in selling and servicing these accounts

and compensation due constitutes earned wages of Plaintiff.

      322. “Wages” for purposes of the PWPCL include “all earnings of an

employee, regardless of whether determined on time, task, piece, commission or

other method of calculation …” 43 Pa C.S. § 260.2a.

      323. Plaintiff’s unpaid commissions constitute wages as defined under the

PWPCL.

      324. Pursuant to the PWPCL, Plaintiff has contractual entitlement to

compensation for his commissions.

      325. Pursuant to the PWPCL, “[w]henever an employer separates an

employe[e] from the payroll, or whenever an employe[e] quits or resigns his

employment, the wages or compensation earned shall become due and payable not

later than the next regular payday of his employer on which such wages would

otherwise be due and payable.” 43 Pa C.S. § 260.3.

      326. Defendant has failed to pay Plaintiff commissions owed to him since

his termination in March 2021.




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      327. Defendant’s aforementioned actions constitute a violation of the

PWPCL.

      328. Defendant deducted from Plaintiff’s wages amounts for an alleged

overpayment error.

      329. Plaintiff did not authorize Defendant’s deduction from his wages.

      330. Defendant’s deductions from his wages are impermissible under the

PWPCL.

      331. Pursuant to the PWPCL, Plaintiff is entitled to liquidated damages in

the amount of 25% of the total wages due or $500.00, whichever is greater, as well

as payment for his attorneys’ fees.

      WHEREFORE, Defendant Ruth Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, plus an equal amount as

liquidated damages, plus interest (both pre- and post-judgment), reasonable

attorneys’ fees, the costs of this action, and any other and further relief this Court

deems appropriate.

                 COUNT XXI—DEFENDANT TIM DOUTRICH
         VIOLATION OF THE PA WAGE PAYMENT AND COLLECTION LAW
                         43 PA.C.S. §260.1, ET SEQ.

      332. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.




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      333. Under the Pennsylvania Wage Payment and Collection Law

(“PWPCL”), the term “employer” includes “every person, firm, partnership,

association, corporation, receiver or other officer of a court of this Commonwealth

and any agent or officer of the above-mentioned classes employing any person in

this Commonwealth.” 43 Pa C.S. § 260.2a.

      334. Defendant Tim Doutrich is an employer for purposes of the PWPCL.

      335. Defendant agreed to compensate Plaintiff on a commission basis for

sales made.

      336. At the time of his termination, numerous projects which Plaintiff sold

had been substantially completed, and/or in the process of completion.

      337. Plaintiff invested thousands of hours selling and servicing these

projects over the course of approximately the prior 18 months yet was not

compensated for the work performed by him.

      338. The work performed by Plaintiff in selling and servicing these accounts

and compensation due constitutes earned wages of Plaintiff.

      339. “Wages” for purposes of the PWPCL include “all earnings of an

employee, regardless of whether determined on time, task, piece, commission or

other method of calculation …” 43 Pa C.S. § 260.2a.

      340. Plaintiff’s unpaid commissions constitute wages as defined under the

PWPCL.


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      341. Pursuant to the PWPCL, Plaintiff has contractual entitlement to

compensation for his commissions.

      342. Pursuant to the PWPCL, “[w]henever an employer separates an

employe[e] from the payroll, or whenever an employe[e] quits or resigns his

employment, the wages or compensation earned shall become due and payable not

later than the next regular payday of his employer on which such wages would

otherwise be due and payable.” 43 Pa C.S. § 260.3.

      343. Defendant has failed to pay Plaintiff commissions owed to him since

his termination in March 2021.

      344. Defendant’s aforementioned actions constitute a violation of the

PWPCL.

      345. Defendant deducted from Plaintiff’s wages amounts for an alleged

overpayment error.

      346. Plaintiff did not authorize Defendant’s deduction from his wages.

      347. Defendant’s deductions from his wages are impermissible under the

PWPCL.

      348. Pursuant to the PWPCL, Plaintiff is entitled to liquidated damages in

the amount of 25% of the total wages due or $500.00, whichever is greater, as well

as payment for his attorneys’ fees.




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      WHEREFORE, Defendant Tim Doutrich is individually liable to Plaintiff

for unpaid wages in an amount to be proven at trial, plus an equal amount as

liquidated damages, plus interest (both pre- and post-judgment), reasonable

attorneys’ fees, the costs of this action, and any other and further relief this Court

deems appropriate.

                 COUNT XXII—DEFENDANT CHARLES ROTH
         VIOLATION OF THE PA WAGE PAYMENT AND COLLECTION LAW
                         43 PA.C.S. §260.1, ET SEQ.

      349. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

      350. Under the Pennsylvania Wage Payment and Collection Law

(“PWPCL”), the term “employer” includes “every person, firm, partnership,

association, corporation, receiver or other officer of a court of this Commonwealth

and any agent or officer of the above-mentioned classes employing any person in

this Commonwealth.” 43 Pa C.S. § 260.2a.

      351. Defendant Charles Roth is an employer for purposes of the PWPCL.

      352. Defendant agreed to compensate Plaintiff on a commission basis for

sales made.

      353. At the time of his termination, numerous projects which Plaintiff sold

had been substantially completed, and/or in the process of completion.




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      354. Plaintiff invested thousands of hours selling and servicing these

projects over the course of approximately the prior 18 months yet was not

compensated for the work performed by him.

      355. The work performed by Plaintiff in selling and servicing these accounts

and compensation due constitutes earned wages of Plaintiff.

      356. “Wages” for purposes of the PWPCL include “all earnings of an

employee, regardless of whether determined on time, task, piece, commission or

other method of calculation …” 43 Pa C.S. § 260.2a.

      357. Plaintiff’s unpaid commissions constitute wages as defined under the

PWPCL.

      358. Pursuant to the PWPCL, Plaintiff has contractual entitlement to

compensation for his commissions.

      359. Pursuant to the PWPCL, “[w]henever an employer separates an

employe[e] from the payroll, or whenever an employe[e] quits or resigns his

employment, the wages or compensation earned shall become due and payable not

later than the next regular payday of his employer on which such wages would

otherwise be due and payable.” 43 Pa C.S. § 260.3.

      360. Defendant has failed to pay Plaintiff commissions owed to him since

his termination in March 2021.




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       361. Defendant’s aforementioned actions constitute a violation of the

PWPCL.

       362. Defendant deducted from Plaintiff’s wages amounts for an alleged

overpayment error.

       363. Plaintiff did not authorize Defendant’s deduction from his wages.

       364. Defendant’s deductions from his wages are impermissible under the

PWPCL.

       365. Pursuant to the PWPCL, Plaintiff is entitled to liquidated damages in

the amount of 25% of the total wages due or $500.00, whichever is greater, as well

as payment for his attorneys’ fees.

       WHEREFORE, Defendant Charles Roth is individually liable to Plaintiff for

unpaid wages in an amount to be proven at trial, plus an equal amount as liquidated

damages, plus interest (both pre- and post-judgment), reasonable attorneys’ fees, the

costs of this action, and any other and further relief this Court deems appropriate.

                         COUNT XXII—DEFENDANT PCK
                             UNJUST ENRICHMENT

       366. The paragraphs set forth above are hereby incorporated by reference as

though the same were fully set forth at length herein.

       367. Through its retention of Plaintiff’s commissions which he earned

through his efforts, Defendant PCK has received a benefit to which it was not

entitled.
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      368. Defendant PCK had, and has, no legitimate entitlement to Plaintiff’s

earned commissions.

      369. Defendant PCK’s taking and retention of this benefit is both inequitable

and unjust.

      370. As a direct and proximate result of Defendant PCK’s unjust enrichment,

Plaintiff has suffered substantial damages and will continue to suffer substantial

damages absent Court intervention.

      371. Defendant’s actions have been willful and outrageous and undertaken

with reckless indifference to the rights of Plaintiff.

      WHEREFORE, Defendant PCK is liable to Plaintiff for the amount of his

unpaid commissions in an amount to be proven at trial, and any other and further

relief this Court deems appropriate.


                                                Respectfully submitted,

                                                SAXTON & STUMP

Dated: July 14, 2021                       By: /s/ Richard L. Hackman
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